
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No.  95-1882



                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  STEPHEN J. STAULA,

                                Defendant, Appellant.

                              _________________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Joseph L. Tauro, U.S. District Judge]
                                            ___________________

                              _________________________

                                        Before

                       Selya, Stahl and Lynch, Circuit Judges.
                                               ______________

                              _________________________


               Martin K. Leppo for appellant.
               _______________
               Todd  E.  Newhouse, Assistant  United States  Attorney, with
               __________________
          whom Donald K. Stern,  United States Attorney, was on  brief, for
               _______________
          appellee.

                              _________________________



                                    March 29, 1996

                              _________________________


















                    SELYA,  Circuit Judge.   A  federal grand  jury charged
                    SELYA,  Circuit Judge.
                            _____________

          defendant-appellant  Stephen J.  Staula, in  relevant part,  with

          being a felon in possession of a firearm (count 1) and ammunition

          (count 2), and with receiving a stolen firearm (count 3).  See 18
                                                                     ___

          U.S.C.   922(g)(1), (j).   Following a five-day trial,  the petit

          jury convicted the  appellant on  all three counts.1   The  court

          imposed an incarcerative sentence.

                    In this appeal,  Staula labors to convince us  that the

          district court thrice erred in denying his motions to (i) dismiss

          the  indictment  for  want  of  a  speedy  trial,  (ii)  suppress

          evidence, and (iii)  direct judgment  of acquittal.   We are  not

          persuaded that any error occurred.

                                          I
                                          I
                                          _

                                      Background
                                      Background
                                      __________

                    We sketch the facts in the light most hospitable to the

          jury's verdict.   See United States  v. Ortiz, 966 F.2d  707, 711
                            ___ _____________     _____

          (1st Cir. 1992), cert. denied, 506 U.S. 1063 (1993).
                           _____ ______

                    During the early evening of September 13, 1993, officer

          David  Tyrie of  the Hanover police  department stopped  a pickup

          truck for patent violations of the state motor vehicle code.  See
                                                                        ___

          Mass. Gen. L. ch. 90,   6 (requiring, inter alia, a front license
                                                _____ ____

          plate on  every commercial  vehicle); id.    7 (requiring,  inter
                                                ___                   _____

          alia, operable brake  lights).   The appellant proved  to be  the
          ____

          driver  and registered  owner  of the  ill-equipped  vehicle.   A
                              
          ____________________

               1The indictment  also charged  the appellant with  two drug-
          related  offenses.  The jury acquitted him on these counts and we
          eschew any further reference to them.

                                          2














          female  companion named  Myriah Morse,  later to  become Staula's

          wife, occupied the passenger's seat.

                    Tyrie testified that he smelled burnt marijuana when he

          first   approached  the   driver's  side   window  to   demand  a

          registration  certificate  and  operator's  license.    He   then

          retreated  to  his  cruiser with  the  documents  and  called for

          backup.  After  two other officers  arrived, Tyrie revisited  the

          vehicle  and  inquired whether  the  occupants  had been  smoking

          marijuana.   He also asked whether they  had any marijuana in the

          truck.    Both  Staula and  Morse  answered  the  queries in  the

          negative.

                    Apparently  unconvinced  by  these disclaimers  and  by

          Morse's  volunteered  statement  that  she  recently  had  burned

          incense in the vehicle, Tyrie  sought the appellant's consent  to

          search the truck.   After  having been rebuffed,  he ordered  the

          appellant  to  alight,  searched the  driver's  side  of the  cab

          (discovering no contraband),  directed Morse to alight,  searched

          the other side of the cab, and found two bags of marijuana behind

          the passenger's seat.  Arrests followed all around.

                    Prior  to  impounding the  vehicle,  Tyrie conducted  a

          standard inventory  search and discovered a  fully loaded handgun

          (which had been reported as stolen in November of 1992) and a box

          of  ammunition  behind  the  passenger's  seat.     The  gun  and

          ammunition  were  located within  inches  of  the marijuana,  and

          within easy reach of the driver.  The weapon's hammer was cocked.

                    At trial,  the appellant  built his defense  around the


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          assertion that he lacked any knowledge of the drugs and weaponry.

          To this end, he presented the testimony of a friend, Ralph Nason,

          who  claimed that he purchased  the marijuana and,  in a separate

          transaction,   accepted   the   gun   and   ammunition  from   an

          acquaintance; borrowed the pickup  truck from Staula on Saturday,

          September 11; placed the  described articles in the vehicle;  and

          then drove to  New Hampshire.   Nason  supposedly remained  there

          (with the truck  and the  contraband) until Sunday  evening.   He

          claims  to have  returned the  truck to  the appellant  on Monday

          (only minutes before Tyrie made the traffic stop).

                                          II
                                          II
                                          __

                                       Analysis
                                       Analysis
                                       ________

                                          A.
                                          A.
                                          __

                                 The Speedy Trial Act
                                 The Speedy Trial Act
                                 ____________________

                    The appellant's principal claim is that the prosecution

          did not  bring him to trial  within the time frame  prescribed by

          the  Speedy  Trial Act,  18 U.S.C.      3161-3174 (the  Act), and

          concomitantly, that  the  district court  therefore  should  have

          dismissed the indictment.   In this case, the speedy  trial claim

          involves a straight  question of law engendering  de novo review.

          See  United States v. Rodriguez,  63 F.3d 1159,  1162 (1st Cir.),
          ___  _____________    _________

          cert. denied, 116  S. Ct. 681 (1995);  see also United States  v.
          _____ ______                           ___ ____ _____________

          Gallo,  20 F.3d  7,  11 (1st  Cir.  1994) (explaining  that  pure
          _____

          questions of law demand plenary appellate review).

                    The  baseline premise  of the  Act is  its requirement,

          embodied  in 18 U.S.C.   3161(c)(1), that a defendant is entitled


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          to  be tried  within seventy  days of  his indictment  or initial

          appearance before  a judicial  officer (whichever  first occurs).

          See  United States  v. Hastings,  847 F.2d  920, 924  (1st Cir.),
          ___  _____________     ________

          cert. denied, 488 U.S.  925 (1988).  The premise  cannot be taken
          _____ ______

          literally, however, for the Act contemplates that certain periods

          of time will  be excluded from the computation.   See 18 U.S.C.  
                                                            ___

          3161(h).  An  inquiring court  therefore must  follow a  two-step

          process.   First,  the court  must do  the basic  mathematics and

          determine the aggregate time elapsed  awaiting trial.  Second, it

          must  determine  how  many  days  should  be  excluded  from that

          ultimate sum.  See United States v. Sepulveda, 15 F.3d 1161, 1193
                         ___ _____________    _________

          (1st Cir. 1993), cert. denied, 114 S. Ct. 2714 (1994).
                           _____ ______

                    Here,  the  salient dates  and  events are  essentially

          undisputed.  The speedy trial clock began to  tick on October 26,

          1994  (the date  of arraignment).   See  id. (describing  date of
                                              ___  ___

          inception  of speedy trial period).  The clock stopped ticking on

          March 16, 1995 (the date on which the appellant  filed his motion

          to dismiss under the Act).  See United States v. Connor, 926 F.2d
                                      ___ _____________    ______

          81,  84 (1st  Cir. 1991)  (holding that  "a motion  for dismissal

          [under  the  Act] is  effective only  for  periods of  time which

          antedate the filing  of the  motion").  Excluding  March 16,  see
                                                                        ___

          Rodriguez, 63 F.3d at 1163-64 (reiterating that the date on which
          _________

          a motion is filed  is not counted), the aggregate  period amounts

          to 140 days.

                    We now take the second  step in the pavane.  This  step

          begins and ends  with the  appellant's motion to  suppress.   The


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          appellant  served   this  motion   on  November  17,   1994,  and

          simultaneously requested an evidentiary  hearing.  The government

          filed  an opposition.    The magistrate  judge  assigned to  hear

          pending motions reserved the  suppression motion for the district

          judge.  On March 22, 1995,  Judge Tauro discussed the motion with

          counsel but  made no ruling.   On the day trial  began (April 18,

          1995),  the  judge  denied  the  motion from  the  bench  without

          convening an evidentiary hearing.   He also denied the  motion to

          dismiss primarily on the basis that the period between the filing

          of  the suppression motion (November 17, 1994) and what he termed

          the  "preliminary hearing" thereon  (March 22,  1995) constituted

          excludable time under the Act.

                    The appellant challenges this ruling.  He contends that

          the brief exchange on March  22 did not comprise a "hearing"  for

          purposes  of the Act.   The point is  significant because the Act

          provides  that delay  connected with  a pending  pretrial motion,

          "from  the filing  of the  motion through  the conclusion  of the

          hearing  on, or  other prompt  disposition of,  such motion,"  is

          excludable.  18 U.S.C.   3161(h)(1)(F).  For motions that require

          a hearing,2 this subsection excludes  the time between the filing

          of the motion  and the hearing on that motion,  even if the delay

          is  overlong, inexplicable,  or unreasonable.   See  Henderson v.
                                                          ___  _________
                              
          ____________________

               2It is often arguable whether a particular motion requires a
          hearing.  See generally United States v. Tannehill, 49 F.3d 1049,
                    ___ _________ _____________    _________
          1052 n.4  (5th Cir.), cert. denied, 116 S. C.t 167 (1995).  Here,
                                _____ ______
          the   appellant  requested   a  hearing   on  his   motion,  thus
          acknowledging that  one was  appropriate.  Consequently,  we need
          not discuss  the factors  that determine whether  a given  motion
          "requires" a hearing.

                                          6














          United States,  476 U.S.  321,  329-30 (1986);  United States  v.
          _____________                                   _____________

          Johnson,  29 F.3d 940, 942-43  (5th Cir. 1994);  United States v.
          _______                                          _____________

          Clymer, 25 F.3d  824, 830-31  (9th Cir. 1994);  United States  v.
          ______                                          _____________

          Noone,  913 F.2d 20, 27  n.10 (1st Cir.  1990), cert. denied, 500
          _____                                           _____ ______

          U.S. 906  (1991).  Thus,  if the  March 22 encounter  comprises a

          hearing  within the  purview  of  the  Act,  the  district  court

          appropriately excluded  all the  time accrued after  November 17,

          1994.

                    The Act itself does not  define the term "hearing," and

          the case  law on this point  is relatively sparse.   It is clear,

          however,  that  due  process  rarely  demands   full  evidentiary

          hearings, see Doyle  v. Secretary of HHS, 848  F.2d 296, 302 (1st
                    ___ _____     ________________

          Cir.  1988)  (collecting  cases),   and  we  are  confident  that

          something  less than a  full evidentiary hearing  will suffice to

          engage  the gears of    3161(h)(1)(F).  Two  recent Fifth Circuit

          cases  are instructive.  In  United States v.  Tannehill, 49 F.3d
                                       _____________     _________

          1049  (5th Cir.), cert. denied, 116  S. Ct. 167 (1995), the court
                            _____ ______

          declared  that, at a minimum,  "the term includes  a situation in

          which the district court hears argument of counsel and  considers

          [those  arguments] prior  to making  its ruling."   Id.  at 1053.
                                                              ___

          Utilizing  this standard, the court held that a discussion of the

          merits  of  the   defendant's  motion  at  the  outset  of  trial

          constituted a hearing for purposes of the Act.  See id.
                                                          ___ ___

                    In United States v. Grosz, ___ F.3d ___ (5th Cir. 1996)
                       _____________    _____

          [No.  94-10922,  1996 WL  75726], a  brief exchange  concerning a

          pending motion  occurred between  the district court  and counsel


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          for the  government (in which defense  counsel, although present,

          did not  play a part).   See  id. at ___  [1996 WL 75726  at *2].
                                   ___  ___

          Applying the Tannehill standard, the panel found this abbreviated
                       _________

          colloquy to be a hearing within the purview  of the Act.  See id.
                                                                    ___ ___

          at ___  [1996 WL 75726  at *4].   The court  said that a  hearing

          occurs whenever  the district  judge discusses  the  merits of  a

          motion with  counsel for the party against whom the ruling on the

          motion is ultimately rendered.  See id.
                                          ___ ___

                    In the  case at hand,  the trial court  heard arguments

          put  forward by  the appellant's  counsel in  open court,  on the

          record; questioned him; and gave him the opportunity to highlight

          salient  facts.   The court  then gave  the prosecutor  a similar

          opportunity.   In our view,  this give-and-take among counsel and

          the court,  notwithstanding its relative brevity,  is the essence

          of  what a hearing entails.  And, moreover, there was good reason

          for the exchange:   the  appellant had requested  that the  court

          take evidence,  and the court  was not in an  optimal position to

          rule upon the appellant's  suppression motion until it questioned

          counsel and  determined the need for, and  the potential efficacy

          of, an evidentiary hearing.

                    To say more would be to add hues to a rainbow.  We hold

          that  a  hearing is  any  on-the-record  colloquy  in  which  the

          district court hears the arguments of counsel and considers those

          arguments prior to deciding  a pending motion.  Measured  by this

          yardstick, the proceedings on  March 22 constitute a  hearing for

          purposes of  18 U.S.C.    3161(h)(1)(F).   It follows  inexorably


                                          8














          that the district court properly excluded the entire period  from

          November 17, 1994 through  March 22, 1995 (a date beyond the date

          on  which the  appellant  filed his  motion  to dismiss).3    See
                                                                        ___

          Henderson, 476 U.S. at 330.
          _________

                    This  ruling  defenestrates  the  speedy  trial  claim.

          Computing  the  total  time  elapsed  between  the  date  of  the

          appellant's first appearance and  the date on which he  filed his

          motion to  dismiss for  want of  a speedy  trial (140  days), and

          subtracting  the  portion of  that  time  excludable due  to  the

          pendency of the motion  to suppress (118 days), it  is abundantly

          clear  that trial commenced within the time frame mandated by the

          Act.

                                          B.
                                          B.
                                          __

                                The Motion to Suppress
                                The Motion to Suppress
                                ______________________

                    The objection  to the  district court's  disposition of

          the  motion  to  suppress  has both  substantive  and  procedural

          aspects.  We discuss them seriatim.

                    1.   Probable  Cause.   A police  officer may  effect a
                    1.   Probable  Cause.
                         _______________

          warrantless search of the interior of a motor vehicle on a public

          thoroughfare as long as he has probable cause to believe that the

          vehicle  contains   contraband  or  other  evidence  of  criminal

          activity.   See, e.g., United  States v. Martinez-Molina, 64 F.3d
                      ___  ____  ______________    _______________
                              
          ____________________

               3We join the Fifth Circuit,  see Grosz, ___ F.3d at  ___ n.7
                                            ___ _____
          [1996 WL 75726 at *9], in  warning that we will not permit either
          the district court or the  prosecution to jerry-build a "hearing"
          in order to thwart  the concinnous operation of the  Speedy Trial
          Act.   Here,  however,  the  record  contains  no  hint  of  such
          contrivance,  and, for that matter, the appellant has levelled no
          such charge.

                                          9














          719, 726 n.5  (1st Cir. 1995); United States  v. Panitz, 907 F.2d
                                         _____________     ______

          1267,  1271 (1st Cir. 1990).   In this  instance, the appellant's

          asseveration that the police lacked probable cause for the search

          elevates hope over reason.

                    In  assessing  "whether  the  government  has  made   a

          sufficient  showing of  probable  cause, a  reviewing court  must

          examine the `totality of  the circumstances.'"  United  States v.
                                                          ______________

          Nocella, 849 F.2d  33, 39  (1st Cir. 1988)  (quoting Illinois  v.
          _______                                              ________

          Gates, 462 U.S.  213, 230  (1983)).  On  appeal, this  assessment
          _____

          entails acceptance  of the lower court's  factual findings unless

          those  findings are clearly  erroneous, but  necessitates plenary

          review of the lower court's legal conclusions.  See United States
                                                          ___ _____________

          v. Zapata, 18  F.3d 971,  975 (1st Cir.  1994); United States  v.
             ______                                       _____________

          Rodriguez-Morales,  929  F.2d 780,  783  (1st  Cir. 1991),  cert.
          _________________                                           _____

          denied,  502 U.S. 1030 (1992).  Moreover, the law recognizes that
          ______

          a  vehicle search under this exception may encompass all areas of

          the vehicle in  which the  suspected contraband is  likely to  be

          found.  See United States v. Maguire, 918 F.2d 254, 260 (1st Cir.
                  ___ _____________    _______

          1990),  cert.  denied,  499  U.S.  950  (1991).    Applying these
                  _____  ______

          principles, it is readily  apparent that the court below  did not

          err in finding probable cause and ratifying the search.

                    Tyrie's   affidavit   asserts  unambiguously   that  he

          detected an aroma of burnt marijuana when he first approached the

          pickup  truck.   The  case law  is  consentient that  when  a law

          enforcement officer detects the  odor of marijuana emanating from

          a confined area,  such as  the passenger compartment  of a  motor


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          vehicle,  that  olfactory  evidence furnishes  the  officer  with

          probable cause to  conduct a  search of the  confined area.   See
                                                                        ___

          United States v. Johns,  469 U.S. 478, 482 (1985);  United States
          _____________    _____                              _____________

          v.  Parker, 72 F.3d 1444, 1450 (10th Cir. 1995); United States v.
              ______                                       _____________

          French, 974 F.2d 687, 692 (6th Cir. 1992), cert. denied, 506 U.S.
          ______                                     _____ ______

          1066 &amp;  507 U.S. 978 (1993).   Thus, Tyrie had a  right to search

          the entire passenger compartment of the pickup truck.  See United
                                                                 ___ ______

          States v. Nielsen, 9 F.3d 1487, 1491 (10th Cir. 1993).4
          ______    _______

                    The  appellant also  assails  the second  phase of  the

          search (during which Tyrie located the gun and ammunition).  That

          search was lawful  for three  reasons.   First, the  extent of  a

          permissible search is often incremental. See, e.g., United States
                                                   ___  ____  _____________

          v. Giannetta,  909 F.2d  571, 574,  577 (1st  Cir. 1990).   Here,
             _________

          Tyrie's  discovery of the  marijuana gave  him probable  cause to

          continue  to  hunt  within  the passenger  compartment  for  more

          contraband.   See, e.g., Maguire, 918  F.2d at 260.   Second, the
                        ___  ____  _______

          appellant  cannot seriously  dispute  that when  Tyrie spied  the

          marijuana, he had probable cause to arrest the truck's occupants.

          See, e.g.,  United States  v. Uricoechea-Casallas, 946  F.2d 162,
          ___  ____   _____________     ___________________
                              
          ____________________

               4The appellant's attempt to dilute the  force of these cases
          is disingenuous.   He cites  other decisions suggesting  that the
          existence of  probable cause to search  the passenger compartment
          of a vehicle  does not necessarily confer  a right to search  the
          trunk.   See, e.g., Nielsen, 9  F.3d at 1491.   Expanding on this
                   ___  ____  _______
          theme,  he then  posits that  Tyrie could  not search  behind the
          seats in the pickup truck.  The fly  in this ointment is that the
          space  behind the seats, in  which Tyrie found  the marijuana, is
          part of the truck's passenger area, and no amount of wordplay can
          change that fact.  Since  the aroma of marijuana wafted from  the
          passenger  area, that region became  fair game for  a drug search
          under the automobile  exception to the warrant requirement.   See
                                                                        ___
          United States v. Ross, 456 U.S. 798, 825 (1982).
          _____________    ____

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          166 (1st Cir. 1991).  Having lawfully arrested the driver in  the

          course of a highway stop, the authorities may search the driver's

          vehicle  for contraband.   See New York v.  Belton, 453 U.S. 454,
                                     ___ ________     ______

          460-61  (1981); United States v.  Reyes-Mercado, 22 F.3d 363, 366
                          _____________     _____________

          n.4  (1st Cir.  1994).   Under  this rule,  the  second phase  of

          Tyrie's search can be  justified as incident to a  lawful arrest.

          Third,  when a driver is lawfully arrested and thus disabled from

          continuing his  journey, the  Constitution permits the  police to

          carry out a routine  inventory examination incident to impounding

          the vehicle.  See Zapata, 18 F.3d at 978; United States v. Ramos-
                        ___ ______                  _____________    ______

          Morales, 981 F.2d 625, 627 (1st Cir.  1991), cert. denied, 113 S.
          _______                                      _____ ______

          Ct. 2384  (1993).  In this  case, the second phase  of the search

          fit comfortably within this integument.

                    On any  of  these bases,  the gun  and ammunition  were

          themselves the fruits of  a lawful search and, hence,  admissible

          at trial.  Accordingly, the district court did not err in denying

          the motion to suppress.

                    2.  Lack of an Evidentiary Hearing.  The appellant next
                    2.  Lack of an Evidentiary Hearing.
                        ______________________________

          berates the  trial court for two  ostensible procedural blunders:

          denying  him an evidentiary hearing on his motion to suppress and

          shunning  its responsibilities under Fed. R. Crim. P. 12(g).  The

          criticism is unwarranted.

                    It  is  apodictic  that  a criminal  defendant  is  not

          entitled,  as a  matter of  right, to  an evidentiary  hearing on

          every motion that he deigns to file.  See, e.g., Panitz, 907 F.2d
                                                ___  ____  ______

          at 1273; United  States v.  Pellerito, 878 F.2d  1535, 1545  (1st
                   ______________     _________


                                          12














          Cir. 1989).   A hearing is  required only if  the movant makes  a

          sufficient threshold showing that material  facts are in doubt or

          dispute, and that  such facts  cannot reliably be  resolved on  a

          paper record.  See  United States v. Lilly, 983  F.2d 300, 310-11
                         ___  _____________    _____

          (1st Cir. 1992); Panitz, 907 F.2d at 1273.  Most importantly, the
                           ______

          defendant  must show  that there  are factual disputes  which, if

          resolved in his favor, would entitle him to the requested relief.

          See, e.g.,  Lilly, 983 F.2d  at 310-11.   The district  court has
          ___  ____   _____

          considerable  discretion in  determining  the need  for, and  the

          utility of, evidentiary hearings, and we will reverse the court's

          denial of an  evidentiary hearing  in respect  to a  motion in  a

          criminal  case only for manifest  abuse of that  discretion.  See
                                                                        ___

          id. at 311.
          ___

                    In this instance the district court correctly concluded

          that  it would  be pointless  to convene an  evidentiary hearing.

          The finding of probable cause hinged on Tyrie's statement that he

          smelled  burnt marijuana when  he first ventured  near the pickup

          truck.   The appellant filed an affidavit in which he stated that

          Tyrie did not mention the aroma of marijuana until he returned to

          the vehicle a second time.  On this basis, the appellant surmises

          that Tyrie's reference to marijuana was pretextual, that is, that

          Tyrie did not  actually detect the  fragrance of marijuana,  but,

          rather, having learned of the appellant's criminal record when he

          checked the appellant's  license and  registration, proceeded  to

          concoct the story to justify his desire to search the  truck.  In

          the appellant's  view, an  evidentiary hearing would  have smoked


                                          13














          out the truth.

                    The asseveration is profoundly  flawed.  Even accepting

          the substance of the appellant's affidavit as true, the affidavit

          contains no facts that  contradict the officer's direct statement

          that  he smelled burnt marijuana  on his initial  approach to the

          truck.   Whether  Tyrie  mentioned the  marijuana  when he  first

          detected the  odor is hardly the  point.  It  is fully consistent

          with  competent  police  work for  a  lone  officer  to call  for

          reinforcements  when  he discovers  that  something  more than  a

          routine traffic stop may be in progress.  By not tipping his hand

          at  the  outset,  Tyrie  would merely  be  exercising  reasonable

          prudence.   Against this backdrop, the  bare assertion of pretext

          does  not  create a  factual  conflict sufficient  to  justify an

          evidentiary  hearing.  See,  e.g., United  States v.  LaBonte, 70
                                 ___   ____  ______________     _______

          F.3d 1396,  1412-13 (1st Cir.  1995) (explaining that  a district

          court need not convene an evidentiary hearing when presented with

          "no  more   than   conclusory  prognostications   and   perfervid

          rhetoric").

                    The appellant's claim that the district court  violated

          Fed.  R. Crim. P.  12(g) is equally  jejune.  That  rule does not

          demand  that the trial court hold an evidentiary hearing on every

          affected motion.  It  simply requires the court to ensure  that a

          verbatim  record  is  made   of  all  proceedings  and  hearings,

          including  "such findings of fact  and conclusions of  law as are

          made orally."   Fed. R. Crim.  P. 12(g).  The  transcripts of the

          March 22 colloquy and the judge's subsequent denial of the motion


                                          14














          to suppress fully satisfy the strictures of the rule.

                                          C.
                                          C.
                                          __

                             Sufficiency of the Evidence
                             Sufficiency of the Evidence
                             ___________________________

                    The  appellant's  sufficiency challenge  implicates all

          three  counts of conviction.   In respect  to counts 1  and 2, he

          suggests  that there  was  inadequate evidence  to  show that  he

          knowingly possessed either the gun or  the ammunition.  Regarding

          count  3, he adds that  the government produced  no evidence that

          the gun  had travelled in  interstate commerce after  having been

          stolen.  We discern no merit in these contentions.

                    We  review the  trial court's  denial of  a motion  for

          judgment of acquittal de  novo.  See  United States v. Valle,  72
                                           ___  _____________    _____

          F.3d 210, 217 (1st  Cir. 1995).  The measure by  which we size up

          challenges  to evidentiary sufficiency  in a  criminal case  is a

          familiar one:   "If the  evidence presented, taken  in the  light

          most  agreeable  to  the  government,  is adequate  to  permit  a

          rational  jury to find each  essential element of  the offense of

          conviction beyond a reasonable  doubt, then the defendant's claim

          fails."   Id. at 216.   In pursuing this inquiry,  we resolve all
                    ___

          credibility  conflicts to the government's benefit, and harmonize

          all reasonable  inferences with the  jury's verdict.   See United
                                                                 ___ ______

          States  v. Taylor,  54 F.3d 967,  974 (1st  Cir. 1995).   By like
          ______     ______

          token, we concern ourselves with the weight  and persuasive power

          of  the   evidence,  not  its   nature,  for  either   direct  or

          circumstantial evidence, or any combination thereof,  may suffice

          to  defeat a motion for acquittal.  See United States v. Spinney,
                                              ___ _____________    _______


                                          15














          65 F.3d 231, 234 (1st Cir. 1995).

                    1.  Scienter.   Turning  first to counts  1 and 2,  the
                    1.  Scienter.
                        ________

          statute  of conviction, 18 U.S.C.    922(g)(1), requires proof of

          three elements:   (1) that  the defendant had  a record of  prior

          felonious  conduct,  yet  (2)   knowingly  possessed  a  gun  (or

          ammunition),  (3)  in  circumstances that  implicated  interstate

          commerce.  See United States v. Powell, 50 F.3d 94, 101 (1st Cir.
                     ___ _____________    ______

          1995).   The  appellant  concedes that  the government  proffered

          sufficient evidence to support findings beyond a reasonable doubt

          anent  the first  and third  of these  elements but  disputes the

          sufficiency of  the evidence regarding  the second:   his knowing

          possession of the firearm  and the ammunition.  His  plaint boils

          down to a  plea that the jury  was duty bound to  accept the only

          direct testimony on the subject   Nason's averment that he placed

          the gun and  ammunition in  the truck, returned  it only  minutes

          before the arrest,  and never  called the added  contents to  the

          appellant's attention   and not to go beyond it.

                    There  are  two  major  problems  with  this  suggested

          approach.    First, Nason's  story,  even if  believed,  does not

          necessarily exonerate the appellant;  the latter might still have

          discovered the  contraband between  the time when  Nason returned

          the truck  and Tyrie flagged it  down.  Second, the  jury was not

          obliged  to accept  Nason's testimony  in whole  or in  part, but

          could instead draw reasonable inferences from the totality of the

          circumstances.   See, e.g., United States v. Olbres, 61 F.3d 967,
                           ___  ____  _____________    ______

          971  (1st  Cir.), cert.  denied, 116  S.  Ct. 622  (1995); United
                            _____  ______                            ______


                                          16














          States v. O'Brien, 14 F.3d 703, 707 (1st Cir. 1994).
          ______    _______

                    These problems are exacerbated by the other evidence in

          the record.   The circumstantial  proof of knowing  possession is

          very  strong.  The appellant  was both the  owner and operator of

          the vehicle and, from where he sat, he had easy access to the gun

          (which seemed ready for immediate use) and the ammunition.  Since

          the appellant exercised  dominion and  control over  the area  in

          which  the gun  and the  ammunition  were discovered,  see United
                                                                 ___ ______

          States v. Echeverri, 982 F.2d 675, 678 (1st Cir. 1993),  the jury
          ______    _________

          was  at liberty  to  find that  he  was in  knowing  constructive

          possession of the weaponry.  See United States v. Wight, 968 F.2d
                                       ___ _____________    _____

          1392, 1398 (1st Cir. 1992) (holding that "the element of `knowing

          possession' under section 922(g)(1) may be established by proving

          that the defendant was in constructive possession of a firearm");

          see also United States  v. Bergodere, 40 F.3d 512,  518 (1st Cir.
          ___ ____ _____________     _________

          1994)  (explaining   that  knowledge  may  be   established  from

          circumstances  attendant  to   constructive  possession),   cert.
                                                                      _____

          denied, 115  S. Ct. 1439 (1995).  In short, the jury's conclusion
          ______

          concerning   the  appellant's  knowing  possession  is  eminently

          supportable on this record.

                    2.   Interstate Commerce.  The  appellant raises a more
                    2.   Interstate Commerce.
                         ___________________

          focused challenge to his  conviction on count 3.  Bolstered  by a

          recent  Ninth Circuit case, United  States v. Cruz,  50 F.3d 714,
                                      ______________    ____

          719  (9th  Cir.  1995), he  insists  that  under  the statute  of

          conviction, 18 U.S.C.   922(j),  it is an element of the  offense

          that  the  firearm  travel  in interstate  commerce  after  being
                                                               _____


                                          17














          stolen, and that  the government's evidence  here failed to  nail

          down this element.

                    The  difficulty with this argument is  twofold.  In the

          first  place, we reject the  notion that, to  trigger   922(j), a

          firearm must reenter the stream of interstate  commerce after its

          theft.   This  court turned  aside a  similar challenge  under 18

          U.S.C.   922(g) in United States v. Gillies, 851 F.2d 492, 493-95
                             _____________    _______

          (1st Cir.),  cert. denied, 488 U.S.  857 (1988), and we  find the
                       _____ ______

          rationale in  Gillies to  be persuasive.   Thus,  consistent with
                        _______

          that rationale we hold that, under   922(j), it is  enough if the

          weapon floats in  the stream of commerce  at some point prior  to

          the  commission of  the  offense of  conviction.   Accord  United
                                                             ______  ______

          States v. Honaker, 5 F.3d 160, 162 (6th Cir. 1993), cert. denied,
          ______    _______                                   _____ ______

          114 S. Ct. 1226 (1994).   Because the appellant does not  dispute

          that the  firearm travelled in interstate  commerce before coming

          to rest in his pickup, he cannot prevail.

                    The finishing touch is that there was evidence at trial

          that the firearm travelled  interstate as a stolen firearm.   The
                                                 ___________________

          appellant's own witness, Nason,  swore that he took the  gun with

          him  from Massachusetts to New  Hampshire only a  few days before

          the police  found the weapon  in the appellant's  possession (and

          several years after  the gun  had been reported  stolen).   Thus,

          even if post-theft  travel were  an element of  the offense,  the

          verdict would not be undercut.5
                              
          ____________________

               5The fact that the evidence of interstate travel was adduced
          in the defense case, rather than in the prosecution's case, is of
          no consequence.  The  court of appeals may properly  consider all

                                          18














                                         III
                                         III
                                         ___

                                      Conclusion
                                      Conclusion
                                      __________

                    We need go no further.  Because the  government brought

          the appellant to trial within the period prescribed by the Speedy

          Trial Act, and  no other  error in the  proceedings appears,  the

          judgment below must be



          Affirmed.
          Affirmed.
          ________



































                              
          ____________________

          evidence presented when confronting a sufficiency challenge.  See
                                                                        ___
          United States v. Arache, 946 F.2d 129, 138 (1st Cir. 1991), cert.
          _____________    ______                                     _____
          denied, 502 U.S. 948 (1992).
          ______

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